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             DSC_0747.JPG                                           DSC_0748.JPG




             DSC_0749.JPG                                           DSC_0750.JPG




             DSC_0751.JPG                                           DSC_0752.JPG

18                      231164 - Benavente, et al. v. City of Ontario
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             DSC_0753.JPG                                           DSC_0754.JPG




             DSC_0755.JPG                                           DSC_0756.JPG




             DSC_0757.JPG                                           DSC_0758.JPG

19                      231164 - Benavente, et al. v. City of Ontario
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                                      #:1390- Inspected 01/11/2024




             DSC_0759.JPG                                           DSC_0760.JPG




             DSC_0761.JPG                                           DSC_0762.JPG




             DSC_0763.JPG                                           DSC_0764.JPG

20                      231164 - Benavente, et al. v. City of Ontario
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                                      #:1391- Inspected 01/11/2024




             DSC_0765.JPG                                           DSC_0766.JPG




             DSC_0767.JPG                                           DSC_0768.JPG




             DSC_0769.JPG                                           DSC_0770.JPG

21                      231164 - Benavente, et al. v. City of Ontario
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                                      #:1392- Inspected 01/11/2024




             DSC_0771.JPG                                           DSC_0772.JPG




             DSC_0773.JPG                                           DSC_0774.JPG




             DSC_0775.JPG                                           DSC_0776.JPG

22                      231164 - Benavente, et al. v. City of Ontario
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                                      #:1393- Inspected 01/11/2024




             DSC_0777.JPG                                           DSC_0778.JPG




             DSC_0779.JPG                                           DSC_0780.JPG




             DSC_0781.JPG                                           DSC_0782.JPG

23                      231164 - Benavente, et al. v. City of Ontario
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                                      #:1394- Inspected 01/11/2024




             DSC_0783.JPG                                           DSC_0784.JPG




             DSC_0785.JPG                                           DSC_0786.JPG




             DSC_0787.JPG                                           DSC_0788.JPG

24                      231164 - Benavente, et al. v. City of Ontario
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                   Exemplar Ford OPD 1025
                                      #:1395- Inspected 01/11/2024




             DSC_0789.JPG                                           DSC_0790.JPG




             DSC_0791.JPG                                           DSC_0792.JPG




             DSC_0793.JPG                                           DSC_0794.JPG

25                      231164 - Benavente, et al. v. City of Ontario
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                                      #:1396- Inspected 01/11/2024




             DSC_0795.JPG                                           DSC_0796.JPG




             DSC_0797.JPG                                           DSC_0798.JPG




             DSC_0799.JPG                                           DSC_0801.JPG

26                      231164 - Benavente, et al. v. City of Ontario
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                                      #:1397- Inspected 01/11/2024




              DSC_0803.JPG




27                       231164 - Benavente, et al. v. City of Ontario
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                                      #:1398- Inspected 01/09/2024




             SAS_9403.JPG                                           SAS_9404.JPG




             SAS_9405.JPG                                           SAS_9406.JPG




             SAS_9407.JPG                                           SAS_9408.JPG

1                       231164 - Benavente, et al. v. City of Ontario
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                                      #:1399- Inspected 01/09/2024




             SAS_9409.JPG                                           SAS_9410.JPG




             SAS_9411.JPG                                           SAS_9412.JPG




             SAS_9413.JPG                                           SAS_9414.JPG

2                       231164 - Benavente, et al. v. City of Ontario
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                                      #:1400- Inspected 01/09/2024




             SAS_9415.JPG                                           SAS_9416.JPG




             SAS_9417.JPG                                           SAS_9418.JPG




             SAS_9419.JPG                                           SAS_9420.JPG

3                       231164 - Benavente, et al. v. City of Ontario
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                                      #:1401- Inspected 01/09/2024




             SAS_9421.JPG                                           SAS_9422.JPG




             SAS_9423.JPG                                           SAS_9424.JPG




             SAS_9425.JPG                                           SAS_9426.JPG

4                       231164 - Benavente, et al. v. City of Ontario
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                                      #:1402- Inspected 01/09/2024




             SAS_9427.JPG                                           SAS_9428.JPG




             SAS_9429.JPG                                           SAS_9430.JPG




             SAS_9431.JPG                                           SAS_9432.JPG

5                       231164 - Benavente, et al. v. City of Ontario
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                                      #:1403- Inspected 01/09/2024




             SAS_9433.JPG                                           SAS_9434.JPG




             SAS_9435.JPG                                           SAS_9436.JPG




             SAS_9437.JPG                                           SAS_9438.JPG

6                       231164 - Benavente, et al. v. City of Ontario
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                   Exemplar Hyundai Accent
                                      #:1404- Inspected 01/09/2024




             SAS_9439.JPG                                           SAS_9440.JPG




             SAS_9441.JPG                                           SAS_9442.JPG




             SAS_9443.JPG                                           SAS_9444.JPG

7                       231164 - Benavente, et al. v. City of Ontario
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                   Exemplar Hyundai Accent
                                      #:1405- Inspected 01/09/2024




             SAS_9445.JPG                                           SAS_9446.JPG




             SAS_9447.JPG                                           SAS_9448.JPG




             SAS_9449.JPG                                           SAS_9450.JPG

8                       231164 - Benavente, et al. v. City of Ontario
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                   Exemplar Hyundai Accent
                                      #:1406- Inspected 01/09/2024




             SAS_9451.JPG                                           SAS_9452.JPG




             SAS_9453.JPG                                           SAS_9454.JPG




             SAS_9455.JPG                                           SAS_9456.JPG

9                       231164 - Benavente, et al. v. City of Ontario
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                    Exemplar Hyundai Accent
                                       #:1407- Inspected 01/09/2024




              SAS_9457.JPG                                           SAS_9458.JPG




              SAS_9459.JPG                                           SAS_9461.JPG




              SAS_9462.JPG                                           SAS_9463.JPG

10                       231164 - Benavente, et al. v. City of Ontario
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                    Exemplar Hyundai Accent
                                       #:1408- Inspected 01/09/2024




              SAS_9464.JPG                                           SAS_9465.JPG




              SAS_9466.JPG                                           SAS_9467.JPG




              SAS_9468.JPG                                           SAS_9469.JPG

11                       231164 - Benavente, et al. v. City of Ontario
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                    Exemplar Hyundai Accent
                                       #:1409- Inspected 01/09/2024




              SAS_9470.JPG                                           SAS_9471.JPG




              SAS_9472.JPG                                           SAS_9473.JPG




              SAS_9474.JPG                                           SAS_9475.JPG

12                       231164 - Benavente, et al. v. City of Ontario
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                    Exemplar Hyundai Accent
                                       #:1410- Inspected 01/09/2024




              SAS_9476.JPG                                           SAS_9477.JPG




              SAS_9478.JPG                                           SAS_9479.JPG




              SAS_9480.JPG                                           SAS_9481.JPG

13                       231164 - Benavente, et al. v. City of Ontario
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                    Exemplar Hyundai Accent
                                       #:1411- Inspected 01/09/2024




              SAS_9482.JPG                                           SAS_9483.JPG




              SAS_9484.JPG                                           SAS_9485.JPG




              SAS_9486.JPG                                           SAS_9487.JPG

14                       231164 - Benavente, et al. v. City of Ontario
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                    Exemplar Hyundai Accent
                                       #:1412- Inspected 01/09/2024




              SAS_9488.JPG                                           SAS_9489.JPG




              SAS_9490.JPG                                           SAS_9491.JPG




              SAS_9492.JPG                                           SAS_9493.JPG

15                       231164 - Benavente, et al. v. City of Ontario
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                    Exemplar Hyundai Accent
                                       #:1413- Inspected 01/09/2024




              SAS_9494.JPG                                           SAS_9495.JPG




              SAS_9496.JPG                                           SAS_9497.JPG




              SAS_9499.JPG                                           SAS_9500.JPG

16                       231164 - Benavente, et al. v. City of Ontario
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                    Exemplar Hyundai Accent
                                       #:1414- Inspected 01/09/2024




              SAS_9502.JPG                                           SAS_9503.JPG




              SAS_9504.JPG                                           SAS_9505.JPG




              SAS_9506.JPG                                           SAS_9507.JPG

17                       231164 - Benavente, et al. v. City of Ontario
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                    Exemplar Hyundai Accent
                                       #:1415- Inspected 01/09/2024




              SAS_9508.JPG                                           SAS_9509.JPG




              SAS_9510.JPG                                           SAS_9511.JPG




              SAS_9512.JPG                                           SAS_9515.JPG

18                       231164 - Benavente, et al. v. City of Ontario
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                    Exemplar Hyundai Accent
                                       #:1416- Inspected 01/09/2024




              SAS_9516.JPG                                           SAS_9517.JPG




              SAS_9518.JPG                                           SAS_9519.JPG




              SAS_9520.JPG                                           SAS_9521.JPG

19                       231164 - Benavente, et al. v. City of Ontario
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                    Exemplar Hyundai Accent
                                       #:1417- Inspected 01/09/2024




              SAS_9522.JPG                                           SAS_9523.JPG




              SAS_9524.JPG                                           SAS_9525.JPG




              SAS_9526.JPG                                           SAS_9527.JPG

20                       231164 - Benavente, et al. v. City of Ontario
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                    Exemplar Hyundai Accent
                                       #:1418- Inspected 01/09/2024




              SAS_9528.JPG                                           SAS_9529.JPG




              SAS_9530.JPG                                           SAS_9531.JPG




              SAS_9532.JPG                                           SAS_9533.JPG

21                       231164 - Benavente, et al. v. City of Ontario
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                                       #:1419- Inspected 01/09/2024




              SAS_9534.JPG                                           SAS_9543.JPG




              SAS_9544.JPG                                           SAS_9545.JPG




              SAS_9546.JPG                                           SAS_9547.JPG

22                       231164 - Benavente, et al. v. City of Ontario
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                                       #:1420- Inspected 01/09/2024




              SAS_9548.JPG                                           SAS_9549.JPG




              SAS_9550.JPG                                           SAS_9551.JPG




              SAS_9553.JPG                                           SAS_9554.JPG

23                       231164 - Benavente, et al. v. City of Ontario
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                                       #:1421- Inspected 01/09/2024




              SAS_9555.JPG                                           SAS_9557.JPG




              SAS_9556.JPG                                           SAS_9558.JPG




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24                       231164 - Benavente, et al. v. City of Ontario
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                                                   #:1422



Laser Scan Data
                  Case 5:23-cv-00266-SSS-DTB Document 51-6 Filed 06/21/24 Page 36 of 59 Page ID
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Laser Scan Data
                  Case 5:23-cv-00266-SSS-DTB Document 51-6 Filed 06/21/24 Page 40 of 59 Page ID
                                                   #:1427



Laser Scan Data
                  Case 5:23-cv-00266-SSS-DTB Document 51-6 Filed 06/21/24 Page 41 of 59 Page ID
                                                   #:1428



Laser Scan Data
                  Case 5:23-cv-00266-SSS-DTB Document 51-6 Filed 06/21/24 Page 42 of 59 Page ID
                                                   #:1429



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                  Case 5:23-cv-00266-SSS-DTB Document 51-6 Filed 06/21/24 Page 43 of 59 Page ID
                                                   #:1430



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                  Case 5:23-cv-00266-SSS-DTB Document 51-6 Filed 06/21/24 Page 44 of 59 Page ID
                                                   #:1431



Laser Scan Data
                  Case 5:23-cv-00266-SSS-DTB Document 51-6 Filed 06/21/24 Page 45 of 59 Page ID
                                                   #:1432



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                  Case 5:23-cv-00266-SSS-DTB Document 51-6 Filed 06/21/24 Page 46 of 59 Page ID
                                                   #:1433



Laser Scan Data
                  Case 5:23-cv-00266-SSS-DTB Document 51-6 Filed 06/21/24 Page 47 of 59 Page ID
                                                   #:1434



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                  Case 5:23-cv-00266-SSS-DTB Document 51-6 Filed 06/21/24 Page 48 of 59 Page ID
                                                   #:1435



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                  Case 5:23-cv-00266-SSS-DTB Document 51-6 Filed 06/21/24 Page 49 of 59 Page ID
                                                   #:1436



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Case 5:23-cv-00266-SSS-DTB Document 51-6 Filed 06/21/24 Page 50 of 59 Page ID
                                 #:1437
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                                 #:1438
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                                 #:1439
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                                 #:1440
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                                 #:1441
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                                 #:1442
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                                 #:1443
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                                 #:1444
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                                 #:1445
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